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                        BEFORE THE UNITED STATES JUDICIAL
                        PANEL ON MULTIDISTRICT LITIGATION



 In re Entresto (Sacubitril/Valsartan) Patent          MDL No. ____________________
 Litigation



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of December 2019, I caused a true and correct copy

of the forgoing Motion, Memorandum, Schedule of Actions, and this Certificate of Service to be

served on the following via electronic mail (except where otherwise indicated).




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                         Case No. 1:19-cv-01979-LPS (D. Del.)

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